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                                                      March 27, 2023
The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re: United States v. Douglass Mackey, Criminal Docket No. 21-0080 (NGG)

Dear Judge Donnelly:

               I write on behalf of Douglass Mackey to provide the Court with an update and
flag a few issues:

       1.     Mr. Mackey will not be calling FBI Special Agent Rees and is prepared to rest this
              morning.

       2.     Regarding the government’s interview reports from the Clinton campaign, the
              government declined to call any additional witnesses, and I decline to call them on
              behalf of Mr. Mackey or request that any witness be recalled. I proposed a
              stipulation about these interview reports, but the government did not respond.
              With the Court’s permission, I will supplement my motion for a mistrial based on
              the Clinton interview reports with my papers in support of my motion pursuant to
              Rule 29, if the jury returns a verdict of guilty. If it aids the Court, I hereby renew
              my motion pursuant to Rule 29 as if made after the defense rests this morning.

       3.     The transcript at page 413, line 20, is in error. The date October 25 (when Mr.
              Mackey was suspended from Twitter) should be October 5.

       4.     I move to strike the word “Muslim” from GX 1004-0004 based on the Order of
              Judge Garaufis, March 17, 2023, Docket No. 100 at 15. I emailed the government
              about this issue yesterday, but did not hear back. I request that the government be
              prepared with an alternate version of the exhibit if the Court sustains this
              objection.

                                             Respectfully submitted,

                                             /s/ Andrew J. Frisch
                                             Andrew J. Frisch
cc: US Attorney’s Office
